
THE defendants had obtained a judgment by motion against the plaintiff in the county court of Loudon, in September, 1809, for the sum of twenty three dollars. *183with interest thereon, to be computed at the rate of 15 per centum per annum, from the 20th day of November, 1795, until payment. The plaintiff obtained a supersedeas to this judgment, and at the circuit court of Loudon in March, 1811, the defendants contended that the superse-deas was improvidently awarded, inasmuch as the principal sum for which the county court gave judgment, (being 23 dollars with 15 per cent, per annum interest,} did not give jurisdiction to this court; but the court considering the question, whether the said interest ought not to be added to the principal to give jurisdiction, one of novelty and difficulty, the same was adjourned to the general court for its advice thereon.
June 12th, 1811, the general court, composed of the same members as in the last case, decided unanimously, “ that the supersedeas did not issue improvidently, and “ that the interest at the time of the judgment mentioned “ in the case adjourned being added to the principal, “ gives the circuit court jurisdiction.” -
Note. The question arose under the 55th section of the district court law, 1st Rev. Co. p. 82, which authorizes a supersedeas, where the value of the judgment is thirty-three dollars, thirty-three cents.
